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                       EXHIBIT “C”




Defendant’s December 22, 2023 Responses to Objections
         to Plaintiff’s Third Set of Discovery




                       EXHIBIT “C”
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                                                                                                        C
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11
                                      UNITED STATES DISTRICT COURT
12                                         DISTRICT OF NEVADA

13   STEPHAN CAMPBELL, on behalf of himself
     and all others similarly situated,                                  CASE NO.: 2:23-cv-00861
14
             Plaintiff,
15

16   v.

17   EVERYTHING BREAKS, INC.,
18         Defendant.
     ______________________________________/
19

20                  DEFENDANT EVERYTHING BREAKS, INC.’S RESPONSES AND
                     OBJECTIONS TO PLAINTIFF’S THIRD SET OF DISCOVERY1
21
             Defendant Everything Breaks, Inc. (“Everything Breaks”), by and through the undersigned
22
     attorneys and pursuant to the Federal Rules of Civil Procedure and the Local Rules of the United States
23

24   District Court for the District of Nevada, hereby serves the attached responses and objections to the

25   Third Set of Discovery (“Interrogatories”) propounded by Plaintiff Stephan Campbell (“Plaintiff”),

26
     1
      By responding to these Interrogatories, Everything Breaks does not waive its right to file a Motion to Compel
27   Arbitration as a result of Plaintiff’s agreement to refrain from and waiver of all rights to participate in a class
     action, a class-wide arbitration, claims brought in a representative capacity, or consolidated claims involving
28   another person’s user data.

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 1   and responds as follows:
 2                                      PRELIMINARY STATEMENT
 3
            The following responses to the Interrogatories are made solely for the purpose of this action.
 4
     Everything Breaks has not completed its investigation of the facts relating to this case, discovery in
 5
     this action, or preparation for trial. All the responses contained herein are based only upon such
 6

 7   information and documents that are presently available, and specifically known, to Everything Breaks.

 8   Discovery is continuing and will continue as long as permitted by rule, statute, or stipulation of the

 9   parties to this action; and the investigation of Everything Breaks’ attorneys and agents will continue
10
     to and through any hearing, judicial proceedings, or trial in this action. It is anticipated that further
11
     discovery, independent investigation, legal research, and analysis will supply additional facts, which
12
     may, in turn, clarify and add meaning to know facts as well as establish entirely new factual matter,
13
     all of which may lead to substantial additions to, changes in, and variation from the contentions and
14

15   responses herein set forth.

16          The following responses to the Interrogatories are given without prejudice to Everything
17   Breaks’ right to produce evidence of any subsequently discovered documents, facts, witnesses, or
18
     information that Everything Breaks may later discover. Everything Breaks accordingly reserves the
19
     right to change any responses contained herein as additional documents are located, facts are
20
     ascertained, analyses are made, legal research is completed, and contentions are formulated.
21

22   Everything Breaks reserves the right, prior to or at the time of any hearing, judicial proceedings, or

23   trial to introduce any evidence from any source that hereafter may be discovered and testimony of

24   witnesses whose identities may hereafter be discovered.
25          The following responses to the Interrogatories are also given without prejudice to Everything
26
     Breaks’ right to produce any inadvertently omitted evidence and introduce such evidence at trial. Thus,
27
     to the extent consistent with the Federal Rules of Civil Procedure, local rules, case law, or court orders,
28

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 1   the following responses and objections are provided without prejudice to Everything Breaks’ right to
 2   produce evidence, documentary or otherwise, of any subsequently discovered facts and/or documents.
 3
            Except for facts expressly admitted herein, no incidental or implied admissions are intended
 4
     hereby. The fact that Everything Breaks has answered any Interrogatory should not be taken as an
 5
     admission that Everything Breaks accepts or admits the existence of any facts set forth or assumed by
 6

 7   such Interrogatory, or that such response constitutes admissible evidence. The fact that Everything

 8   Breaks has answered part of all of an Interrogatory is not intended and shall not be construed to be a

 9   waiver by Everything Breaks of all or any part of any objection to any Interrogatory.
10
            This Preliminary Statement is incorporated into each Interrogatory response set forth below.
11
                             OBJECTIONS TO CERTAIN “DEFINITIONS”
12                          CONTAINED WITHIN THE INTERROGATORIES

13          The following objections are made with respect to certain “Definitions” contained within the
14
     Interrogatories (“Definition Objection”). The failure to refer specifically to a Definition Objection in
15
     response to a specific Interrogatory shall not be construed as a waiver of that Definition Objection. In
16
     addition, the assertion of the same, similar, or additional objection(s) in response to a specific
17
     Interrogatory does not waive any Definition Objection as set forth more fully below.
18

19          1.      Everything Breaks objects to the definition of the terms “Defendant” and “You,” as set

20   forth in the Interrogatories as overbroad and unduly burdensome in that it irrelevant and seeks to
21   impose unreasonable discovery obligations on Everything Breaks. To the extent Everything Breaks
22
     responds to any of the Interrogatories mentioning the foregoing terms, Everything Breaks will only
23
     respond on its own behalf (not on behalf of its “past or present offices [sic], locations, divisions,
24
     affiliates, subsidiaries, successors, predecessors, partners, join venturers, officers, directors,
25

26   employees, agents, attorneys or representatives”) and interprets “Defendant” and “You” to mean only

27   Everything Breaks. Everything Breaks further objects to the definition of the foregoing terms to the

28   extent it calls for a legal conclusion and/or legal interpretation (e.g., “joint venturers,” “agents”), or

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 1   seeks to intrude upon the attorney-client communication privilege or work-produce doctrine (e.g.,
 2   “attorneys or representatives”). See generally, Maale v. Caicos Beach Club Charter, Ltd., No. 08-
 3
     80131-CIV, 2010 WL 272913, *8 (S.D. Fla. Jan. 15, 2010) (“The request is ambiguous insofar as it
 4
     seeks communications by the defendants ‘on behalf of the Project.’”); Starr Indem. & Liab. Co. v.
 5
     CSX Transportation, Inc., No. 3:14-CV-1455-J-39JBT, 2015 WL 12861172, *2 (M.D. Fla. June 1,
 6

 7   2015) (“Although ‘you’ is a defined term, the definition itself, ‘Plaintiff Starr Indemnity & Liability

 8   Co. a/s/o Efacec Power Transformers and any employees, agents, attorneys, representatives or other

 9   Persons acting on behalf of either or both of the foregoing’ . . . is vague and unclear in this context”).
10
            2.      Everything Breaks objects to the definition of the term “Describe” as overbroad and
11
     unduly burdensome in that it seeks to impose unreasonable discovery obligations on
12
     Everything Breaks.
13
            3.      Everything Breaks objects to the definition of the term “Identify” as overbroad and
14

15   unduly burdensome in that it seeks to impose unreasonable discovery obligations on Everything

16   Breaks and is beyond the scope of Federal Rule of Civil Procedure 34 (e.g., “describe what disposition
17   was made of it and give the name, address and telephone number of the person presently having
18
     possession of, custody or control of the document.”). Moreover, Everything Breaks objects to the
19
     definition of the term “Identify” as overbroad and unduly burdensome to the extent it seeks
20
     information and/or documents not in Everything Breaks’ possession, custody, or control.
21

22          4.      Everything Breaks objects to the definition of the term “Telemarketing” to the extent

23   it calls for a legal conclusion and/or legal interpretation. Everything Breaks also objects to the

24   definition of the term “Telemarketing” as vague, ambiguous, overbroad, and speculative (e.g., “that
25   could have generated or was intended to generate leads, customers or sales for you or any franchisee
26
     of yours within the United States.”).
27
            5.      Everything Breaks objects to the definition of the term “Vendor” to the extent it calls
28

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 1   for a legal conclusion and/or legal interpretation. Everything Breaks also objects to the definition of
 2   the term “Vendor” as vague, ambiguous, and overbroad; particularly compared to the definitions of
 3
     “Defendant” and “You,” which definitions include “employees,” as well as with the definition of
 4
     “Third party.”
 5
            6.        Everything Breaks objects to the “Relevant Time Period” as set forth in the
 6

 7   Interrogatories as overbroad, vague, beyond the scope of the allegations alleged in the Complaint, and

 8   irrelevant because it is not properly limited in time or scope to the extent the “Relevant Time Period”

 9   exceeds the applicable statute of limitations.
10
                                  RESPONSES AND OBJECTIONS TO
11                              PLAINTIFF’S THIRD SET OF DISCOVERY

12          Subject to and without waiving the foregoing Objections and Definition Objections (set forth

13   above), Everything Breaks specifically responds to the Interrogatories as follows:
14
            11.       Explain how, when, and why you obtained Plaintiff’s User Data or name, address,
15

16   email, telephone number and vehicle information (“Plaintiff’s Lead Information”). A responsive

17   answer will include the identity of the person or entity that sold or otherwise provided you with
18   Plaintiff’s Lead Information, the date Plaintiff’s Lead Information was obtained, and why Plaintiff’s
19
     Lead Information was obtained by you.
20
            RESPONSE: The objections that apply to this Interrogatory continue as follows:
21
            Everything Breaks objects to this Interrogatory that, when coupled with the other
22

23   Interrogatories propounded by Plaintiff (specifically including Interrogatory No. 9), in total exceed

24   the maximum number permitted pursuant to Federal Rule of Civil Procedure 33. See Fed. R. Civ. P.

25   33(a) (“may serve on any other party no more than 25 written interrogatories, including all discrete
26   subparts”).
27

28

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            DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF DISCOVERY
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 1          Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the

 2   needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
 3
     or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
 4
     calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
 5
     were purportedly registered on the National Do Not Call Registry, without prior express written
 6
     consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.
 7

 8   However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint

 9   (e.g., requesting information related to “how, when, and why” Plaintiff’s Lead Information was
10   obtained).
11

12
            12.     For the person or entity that sold or otherwise provided you with Plaintiff’s
13
     Lead Information, identify the total number of Leads obtained from that person or entity during the
14

15   relevant time period.

16          RESPONSE: The objections that apply to this Interrogatory continue as follows:

17          Everything Breaks objects to this Interrogatory that, when coupled with the other
18   Interrogatories propounded by Plaintiff (specifically including Interrogatory No. 9), in total exceed
19
     the maximum number permitted pursuant to Federal Rule of Civil Procedure 33. See Fed. R. Civ. P.
20
     33(a) (“may serve on any other party no more than 25 written interrogatories, including all discrete
21
     subparts”).
22

23          Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the

24   needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope

25   or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
26
     calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
27
     were purportedly registered on the National Do Not Call Registry, without prior express written
28

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 1   consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.

 2   However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint
 3
     (e.g., “the total number of Leads obtained”).
 4
            Everything Breaks objects to the definition of the term “Identify” as set forth more fully at
 5
     Definition Objection No. 3.
 6

 7
            13.     For the person or entity that sold or otherwise provided you with Plaintiff’s
 8
     Lead Information, identify the total number of Leads obtained from that person or entity during the
 9
     relevant time period that originated with the website ottoinsurance.com.
10

11
            RESPONSE: The objections that apply to this Interrogatory continue as follows:
12
            Everything Breaks objects to this Interrogatory that, when coupled with the other
13
     Interrogatories propounded by Plaintiff (specifically including Interrogatory No. 9), in total exceed
14

15   the maximum number permitted pursuant to Federal Rule of Civil Procedure 33. See Fed. R. Civ. P.

16   33(a) (“may serve on any other party no more than 25 written interrogatories, including all discrete

17   subparts”).
18          Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the
19
     needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
20
     or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
21
     calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
22

23   were purportedly registered on the National Do Not Call Registry, without prior express written

24   consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.

25   However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint
26
     (e.g., “total number of Leads obtained”).
27

28

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 1           Everything Breaks objects to the definition of the term “Identify” as set forth more fully at

 2   Definition Objection No. 3.
 3

 4           14.     Identify all Leads or User Data obtained from the person or entity identified in response

 5
     to Interrogatory No. 12 for the relevant time period. For each Lead or User Data, identify the
 6
     following information:
 7

 8           a)      name;
 9           b)      address;
10
             c)      email address; and
11
             d)      telephone number.
12
             RESPONSE: The objections that apply to this Interrogatory continue as follows:
13
             Everything Breaks objects to this Interrogatory that, when coupled with the other
14

15   Interrogatories propounded by Plaintiff (specifically including Interrogatory No. 9), in total exceed

16   the maximum number permitted pursuant to Federal Rule of Civil Procedure 33. See Fed. R. Civ. P.

17   33(a) (“may serve on any other party no more than 25 written interrogatories, including all discrete
18   subparts”).
19
             Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the
20
     needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
21
     or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
22

23   calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers

24   were purportedly registered on the National Do Not Call Registry, without prior express written

25   consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.
26
     However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint
27
     (e.g., “Identify all Leads or User Data obtained . . .”).
28

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 1            Everything Breaks objects to this Interrogatory to the extent it demands Everything Breaks to

 2    create documents that do not exist in contravention of well-established law. See, e.g., Taylor v.
 3
      Kilmer, 18 CV 7403, 2020 WL 606781, at *3 (N.D. Ill. Feb. 7, 2020); A & R Body Specialty &
 4
      Collision Works, Inc. v. Progressive Cas. Ins. Co., 3:07CV929 WWE, 2014 WL 5859024, at *6 (D.
 5
      Conn. Nov. 10, 2014); Georgacarakos v. Wiley, 07-CV-01712-MSK-MEH, 2009 WL 924434, at *2
 6
      (D. Colo. Apr. 3, 2009); Insituform Techs., Inc. v. Cat Contracting, Inc., 168 F.R.D. 630, 633 (N.D.
 7

 8    Ill. 1996).

 9            Everything Breaks objects to this Interrogatory as overbroad on its face (e.g., “Identify all
10    Leads or User Data obtained . . .”).
11
              Everything Breaks objects to the definition of the term “Identify” as set forth more fully at
12
      Definition Objection No. 3.
13

14
              15.     Explain how you obtain User Data or Leads that originate with the website
15
      ottoinsurance.com and how the User Data or these Leads are contacted or called on your behalf.
16
      A responsive answer will include a description of how User Data or lead information is obtained
17

18    (e.g., via email, API, data transfer, file share, etc.) and how that User Data lead information is provided

19    to any third party that places calls on your behalf (e.g., via email, API, data transfer, file share, etc.).

20
              RESPONSE: The objections that apply to this Interrogatory continue as follows:
21
              Everything Breaks objects to this Interrogatory that, when coupled with the other
22

23    Interrogatories propounded by Plaintiff (specifically including Interrogatory No. 9), in total exceed

24    the maximum number permitted pursuant to Federal Rule of Civil Procedure 33. See Fed. R. Civ. P.

25    33(a) (“may serve on any other party no more than 25 written interrogatories, including all discrete
26
      subparts”).
27

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 1           Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the

 2    needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
 3
      or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
 4
      calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
 5
      were purportedly registered on the National Do Not Call Registry, without prior express written
 6
      consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.
 7

 8    However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint

 9    (e.g., “Explain how you obtain User Data or Leads . . .”).
10
             Dated: December 22, 2023.              Respectfully submitted,
11
                                                            PHILIP SILVESTRI
12                                                          Nv. Bar No. 11276
                                                            Email: philip.silvestri@gmlaw.com
13                                                          GREENSPOON MARDER LLP
14                                                          3993 Howard Hughes Parkway, Suite 400
                                                            Las Vegas, NV 89159
15                                                          Tel: (702) 978-4249

16                                                  By:     /s/ Jamey R. Campellone
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21                                                          Tel: (954) 527-6296
22                                                          Fax: (954) 333-4027

23                                                          Attorneys for Everything Breaks, Inc.

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 1                                     CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on this 22nd day of December 2023, a copy of the foregoing
 3    Responses and Objections to Plaintiff’s Third Set of Discovery Requests was served via email on all
      attorneys of record including: Craig K. Perry, Esq., 2300 W. Sahara Ave., Suite 800, Las Vegas,
 4    Nevada 89102 (cperry@craigperry.com), Chris R. Miltenberger, Esq., The Law Office of Chris R.
      Miltenberger, PLLC, 1360 N. White Chapel, Suite 200, Southlake, Texas 76092
 5    (chris@crmlawpractice.com), Eric H. Weitz, Esq. and Max S. Morgan, Esq., The Weitz Firm, LLC,
      1515 Market Street, #1100, Philadelphia, PA 19102 (eric.weitz@theweitzfirm.com,
 6    max.morgan@theweitzfirm.com), Attorneys for Plaintiff.
 7
                                                 By:     /s/ Jamey R. Campellone
 8                                                       JAMEY R. CAMPELLONE

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 1                                          VERIFICATION PAGE

 2                                          By:

 3                                          Print Name:

 4                                          Title:

 5     STATE OF                                      )
                                                     ) SS:
 6     COUNTY OF                                     )

 7
             BEFORE ME, the undersigned authority, duly licensed to administer oaths and take
 8
      acknowledgments, personally appeared                                                   , who being by me
 9
      first duly sworn, deposes and says that he has read the foregoing answers to interrogatories, and that
10
      they are true and correct to the best of his knowledge.
11

12
             SWORN TO AND SUBSCRIBED before me this                            day of              , 2023.
13

14

15
                                                     Notary Public, State of
16
                                                     My Commission Expires:
17

18

19

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